                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION

                                 No. 7:09-CR-73-D-1


UNITED STATES OF AMERICA,                 )
                                          )
     V.                                   )       ORDER
                                          )
PETERAMICALE CARLTON,                     )
                                          )
            Defendant.·                   )
                                          )

          This matter comes before the Court on the Government's Motion to Seal

  Exhibit A - Defendant's Immunizaton Record [D.E. 174] attached to Government's

  Response in Opposition to Defendant's Motion for Compassionate Release [D.E. 173].

  For good cause h~ving been shown, the Government's motion is GRANTED. The

  Clerk of Court is DIRECTED to seal Exhibit A- Defendant's Immunization Record

  [D.E. 174].

          SO ORDERED this   _a day of _July_ _, 2022.



                                       J   ES C. DEVER III
                                       United States District Court Judge




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